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                                                                                              2024 May-08 AM 11:39
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION

 State of ALABAMA, et al.,
                                        Plaintiffs,
 v.                                                   Case No. 7:24-cv-533-GMB

 Miguel CARDONA, in his official capacity
 as the U.S. Secretary of Education, et al.,
                                     Defendants.

                         DECLARATION OF NICOLE NEILY
                       (PARENTS DEFENDING EDUCATION)
       1.      I am over the age of eighteen and under no mental disability or impairment. I

have personal knowledge of the following facts and, if called as a witness, would competently

testify to them.

       2.      I am the president of Parents Defending Education.

       3.      PDE is a 501(c)(3) nationwide, grassroots membership organization whose

members are primarily parents of school-aged children. PDE has members throughout the

country. PDE’s mission is to prevent the politicization of K-12 education, including attempts

to usurp parents’ rights and to silence students who express opposing views. PDE seeks to

stop indoctrination in the classroom and promote the restoration of a healthy, non-politicized

education for kids. PDE furthers this mission through network and coalition building;

engagement on local, state, and national policies; advocacy; and, if necessary, litigation.

       4.      One way that PDE uses litigation is to challenge unconstitutional policies at

primary and secondary schools. PDE has challenged policies across the country that violate

free-speech and parental rights—including bias policies, PDE v. Wellesley Pub. Sch., No. 1:21-

cv-11709 (D. Mass. Dec. 8, 2021); speech codes, PDE v. Linn Mar Cmty. Sch. Dist., 83 F.4th


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658 (8th Cir. 2023); and policies that hide information about students’ gender identities from

their parents, id. But litigation is expensive and time-consuming; any attorney’s fees that PDE

has recovered were only a small fraction of its expenses.

       5.      PDE filed comments in response to the Department’s notice of proposed

rulemaking here, which preceded the challenged rule. Comments on the Department of Education’s

Request for Comments Regarding the Proposed Amendments to the Regulations Implementing Title IX of the

Education Amendments of 1972, PDE (Sept. 12, 2022), perma.cc/GD3Y-LTU7. PDE’s specific

concerns—and its litigation—are referenced in the final rule.

       6.      The challenged rule changes the operative definition of “sexual harassment”

under Title IX for so-called hostile-environment harassment. One clear takeaway is that

schools must now prohibit “misgendering,” where a student refuses to use others’ “preferred

pronouns” instead of the pronouns that match their biological sex. Worse, the rule makes clear

that a single instance of intentional or purposeful misgendering can violate the Department’s

definition. As can a repeated, but nonsevere, practice of misgendering.

       7.      Primary and secondary schools must—and predictably will—change their Title

IX policies to ban harassment that satisfies this new definition, including misgendering. The

rule prohibits discrimination based on “gender identity,” and the Department views that

command as requiring the use of “pronouns and names consistent with a student’s gender

identity.” 2016 Dear Colleague Letter on Title IX and Transgender Students 3 (May 13, 2016),

perma.cc/2VTQ-RUYP. The rule cites approvingly (multiple times) a district-court decision

against PDE that says it’s constitutional for K-12 schools to ban misgendering. See 89 Fed.

Reg. at 33,504, 33,506 (citing PDE v. Olentangy Loc. Sch. Dist., 2023 WL 4848509, at *2 (S.D.



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Ohio July 28)). The Department disavows and disagrees with a prior memorandum that said

“refusing to treat a student consistent with their gender identity generally would not violate

Title IX.” Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal

Financial Assistance, 87 Fed. Reg. 41390, 41536-37 (July 12, 2022) (citing Memorandum re: Bostock

v. Clayton Cnty. 1 (Jan. 8, 2021), perma.cc/CJE3-GH52); 89 Fed. Reg. at 33,807 (maintaining

that the prior memorandum is wrong). And the Department is currently investigating a school

that did not punish students who refused to use a classmate’s preferred pronouns. See 89 Fed.

Reg. at 33,516 (not responding to a comment asking the Department to explain “a recent

resolution letter finding that a school district violated Title IX when it failed to effectively

respond to misgendering of a student”); see also Braceras, Wisconsin School Opens Title IX Sexual

Harassment Investigation into Boys Who ‘Misgendered’ Classmate, IWF (May 27, 2022),

perma.cc/9CVE-RXT4. Primary and secondary schools will understand that, if they deviate

from the Department’s rule, they can be investigated and punished by the Department too,

risking their reputation and their federal funding.

       8.      PDE and other groups who defend students’ rights believe the challenged rule’s

new definition of harassment is facially unconstitutional under the First and Fourteenth

Amendments, especially with respect to misgendering. See PDE Briefs in Olentangy, Docs. 28

& 79, No. 13-3630 (6th Cir. Sept. 25 & Nov. 14, 2023); Amicus Br. of FIRE in Olentangy, Doc.

60, No. 13-3630 (6th Cir. Oct. 2, 2023). The Supreme Court explained in Davis v. Monroe County

Board of Education—a case involving K-12 education—how to draw the line between

harassment that is punishable conduct and harassment that is protected speech: The

harassment must be “so severe, pervasive, and objectively offensive that it denies its victims



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the equal access to education.” 526 U.S. 629, 652 (1999). This standard intentionally excludes

“a single instance of one-on-one peer harassment,” even if “sufficiently severe,” and

harassment that has only limited effects like a “‘decline in grades.’” Id. at 652-53. Public-school

policies that exceed Davis’s narrow, speech-protective definition sweep in a substantial amount

of protected speech and compel speech on some of the hottest topics of public concern, even

when the compelled speech conflicts with the student’s deeply held beliefs. Whenever K-12

schools adopt this definition, it chills and compels speech, both on and off school grounds.

       9.      The challenged rule declares that it trumps parents’ rights, including their right

to access their child’s information under the Family Educational Rights and Privacy Act and

state laws. 89 Fed. Reg. at 33,885, 33,536. Commenters pressed concerns that the rule would

bar a recipient from “treat[ing] a student according to their” biological sex “if requested by the

parents to do so,” “notify[ing] a student’s parents of the student’s gender transition or gender

identity,” or letting parents access “their child’s educational records, including information

about their child’s gender identity.” 89 Fed. Reg. at 33,821. Rather than deny these concerns,

the Department concedes that the rule can require such results, even when state law requires

these parental rights. 89 Fed. Reg. at 33,821-22.

       10.     When K-12 schools adopt unconstitutional policies that violate the parental

rights of PDE’s members or chill the speech of their children, PDE challenges those policies

in court. E.g., Linn Mar, 83 F.4th 658; Olentangy, 2023 WL 4848509; Wellesley, No. 1:21-cv-

11709 (D. Mass.). PDE’s members also benefit from state laws, like Iowa’s, that give parents

a right to know and participate in decisions about their child’s gender identity at school. See

Linn Mar, 83 F.4th at 665 (discussing Iowa Code §279.78 (2023)).



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       11.     PDE’s lawsuits have resulted in settlements that ensure these policies stay off

the books. For example, Linn-Mar settled with PDE and agreed to “rescin[d]” and “not

reinstate” a policy that prohibited “an intentional and/or persistent refusal by staff or students

to respect a student’s gender identity.” Linn Mar, Doc. 57, No. 1:22-cv-78 (Feb. 21, 2024)

(attached as Ex. A). The challenged rule effectively undoes that bargain by forcing schools,

including Linn-Mar, to adopt policies that ban the same speech. And it purports to override

both FERPA and state laws, like Iowa’s, that give parents a right to know information about

their child’s claimed gender identity at school. All of this harms PDE’s members, several of

whom have children that still attend Linn-Mar. See Linn Mar, 83 F.4th at 664.

       12.     The challenged rule also will divert PDE’s resources in ways that harm its

mission. For example, as a direct result of the rule’s publication, PDE’s tip line is experiencing

a surge in calls from concerned parents about the safety of their children, and this surge will

only worsen as the rule coerces school districts into adopting unlawful policies. Under the rule,

moreover, exponentially more K-12 schools will prohibit misgendering under Title IX and

stop notifying parents about their child’s claimed gender identity at school—ballooning the

number of schools that are violating the rights of PDE’s members. This upending of the status

quo will require PDE to divert its finite resources toward suing (or re-suing) schools. These

diversions will prevent PDE from using its resources on other projects, including combatting

antisemitism at additional K-12 schools and launching new investigations to reveal

connections between schools in the United States and foreign countries.

       13.     The challenged rule will cause public primary and secondary schools to adopt

policies that violate the constitutional rights of PDE’s members and their children. PDE has



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members whose children currently attend public schools across the United States, including

in the Plaintiff States. PDE has over 700 members within Alabama, Florida, and Georgia

alone. I am personally familiar with, and have spoken to, members whose children are enrolled

in these schools. Based on those conversations and the other materials I have reviewed, I know

the following.

       14.       A.B. is a Georgian whose children currently attend a Georgia public school.

B.W. is a Floridian whose children currently attend a Florida public school. A.O. is a Floridian

whose child currently attends a Florida public school. These parents’ children will attend

schools in these States next year too. For now, these schools do not have a policy that

prohibits, for example, “misgendering.”

       15.       PDE’s members and their children hold a wide array of different views and

opinions on matters such as politics, religion, gender identity, and many other sensitive and

controversial topics concerning sex, sexual orientation, and gender identity. These traditional

views are unpopular, controversial, and in the minority at their schools.

       16.       A.B. believes that people are either male or female. A.B. acknowledges that

gender dysphoria exists but believes it is historically a rare condition. A.B. believes there is a

difference between gender dysphoria and a child’s confusion about their gender, which can

lead a child to adopt a different name, pronouns, clothing, and so forth. A.B. also believes that

confusion about gender can be a part of adolescence and that it does not always persist beyond

adolescence. A.B. believes that issues of gender are sensitive issues that should be left to

families to discuss and resolve, not to schools. These views stem in part from A.B.’s sincerely

held religious beliefs.



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       17.     A.B. has raised her children to believe that biological sex is immutable and does

not change based on someone’s internal feelings. A.B. has taught her children to always tell

the truth and stand up for their beliefs, even when those beliefs are unpopular.

       18.     A.B.’s children believe that sex is immutable and that a child cannot “transition”

from one sex to another. A.B.’s children do not want to be forced to “affirm” that a

biologically female classmate is actually a male—or vice versa—or that a classmate is

“nonbinary” and neither male nor female. Doing so would contradict the deeply held beliefs

of A.B.’s family, including A.B.’s beliefs that she has imparted to her children and her

children’s own sincerely held beliefs. A.B. and her children also believe that a biological male

who identifies as female should not be allowed to compete in women’s sports and that it is an

invasion of privacy for students to share bathrooms with the opposite biological sex. They

also believe that children are healthiest when they are raised as part of a nuclear family.

       19.     B.W. believes that sex is immutable and that people are either male or female.

B.W. believes that there is a difference between gender dysphoria and a child’s confusion about

their gender, which can lead a child to adopt a different name, pronouns, clothing, and so on.

B.W. also believes that confusion about gender can be a part of adolescence and that it does

not always persist beyond adolescence. B.W. believes that these issues of gender are sensitive

and should be left to families to discuss and resolve, not to schools. B.W. has raised his

children to believe that biological sex is immutable and that gender does not exist on a

spectrum, as many people now claim. B.W. has also taught his children to share their beliefs

and to tell the truth.




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       20.     B.W.’s children believe that people are either male or female and that biological

sex is unchangeable. They do not want to be forced to “affirm” that a biologically male

classmate is actually a female—or vice versa—or that a classmate is “nonbinary” and neither

male nor female. They wish to use pronouns consistent with a classmate’s biological sex

repeatedly and at all times, including inside and outside the classroom, and in and out of the

classmate’s presence. Being forced to do otherwise would contradict the deeply held beliefs of

B.W.’s family, including his beliefs that he has imparted to his children.

       21.     A.O. believes that people are either male or female and that a child cannot

“transition” from one sex to another. He acknowledges that gender dysphoria exists but

believes it is historically a rare condition. He believes there is a difference between gender

dysphoria and a child’s confusion about gender, which can lead a child to adopt a different

name, pronouns, and clothing. He also thinks that confusion about gender can be a part of

adolescence and that it does not always persist beyond adolescence. He believes that a

biological male who identifies as female should not be allowed to compete in women’s sports

and that it is an invasion of privacy for students to share bathrooms with the opposite

biological sex. Further, A.O. believes that marriage is only between a man and a woman and

that children are healthiest when they are raised as part of a nuclear family. A.O. believes that

issues of sex, gender identity, and sexual orientation are sensitive and should be left to families

to discuss and resolve, not to schools. When they arise at school, A.O. wants his child to

express all these opinions that he has instilled in his child.

       22.     A.O. does not want his child to be forced to “affirm” that a biologically female

classmate is actually a male—or vice versa—or that a classmate is “nonbinary” and neither



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male nor female. Specifically, A.O. does not want his child to use pronouns consistent with a

classmate’s biological sex repeatedly and at all times, including inside and outside the

classroom, and in and out of the classmate’s presence.

       23.     PDE’s members and their children want to be able to have open and robust

intellectual debates and discussions about these issues at school and in their communities.

When a classmate or another member of the school community voices contrary views about

these and other controversial topics, PDE’s members and their children want to point out the

flaws in their arguments and convince them to change their minds. PDE’s members and their

children want to speak directly about these topics, and they want to talk frequently and

repeatedly on these issues. Given their views, PDE’s members and their children know that

many of these conversations will be heated, passionate, and targeted. But they want to have

these conversations because they feel strongly about these issues.

       24.     PDE’s members and their children will be subject to the policies and practices

that the challenged rule causes their schools to adopt. Their children will limit their speech

because they reasonably fear it will be considered “harassment” or “misgendering.” From self-

censoring, their children will steadily lose self-esteem, self-confidence, and the educational

benefits of free-flowing debate and the exchange of ideas.

       25.     If the challenged rule becomes effective, PDE’s members will be unable to

effectively exercise their fundamental rights as parents to guide the upbringing of their children

and to instill their children with important values. The rule will give PDE’s members constant

anxiety that their children will be questioned or punished for the views they wish to express

and forced to violate their privacy by sharing private spaces with the opposite sex. Being



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threatened for stating their fundamental beliefs will inflict mental and psychological harm on

their children by forcing them to “choose” between expressing their beliefs and following the

rules. The rule will prevent PDE’s members from directing their children to seek and facilitate

open, robust intellectual discussions on religion, gender identity, and many other sex-related

topics with other students, with the goal of changing those students’ minds or, at a minimum,

helping those students understand their perspectives. At a minimum, it will force these parents

to have difficult discussions about sex and gender identity with their children before the

children are ready.

       26.    These members also do not want their children sharing restrooms with the

other biological sex, regardless of asserted gender identity. Before the challenged rule, their

children attended schools that did not permit transgender individuals to use a bathroom that

does not match their biological sex. The rule now requires schools to adopt policies that permit

biological boys to use the girl’s bathroom and biological girls to use the boy’s bathroom, based

on their asserted gender identity. The rule thus impinges on students’ privacy interests in using

the bathroom away from the opposite sex and in shielding their bodies from the opposite sex.

Individuals have a privacy interest when their nude or partially nude bodies are exposed to

others, especially when persons of the opposite sex are present. School-age children are still

developing emotionally and physically as well, heightening the privacy concerns. The prospect

of the presence of the opposite sex, let alone their actual presence, would be a significant

intrusion on PDE’s members’ children’s privacy and would psychologically and emotionally

harm them. See Amicus Br. of PDE in Metropolitan Sch. Dist. of Martinsville v. A.C., No. 23-392

(U.S. Nov. 13, 2023), perma.cc/YXY7-GVNL.



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       27.    The challenged rule threatens these children’s due-process rights too. Especially

because the rule’s definitions are so broad and vague, PDE’s members’ children could easily

cross the line and be reported and investigated for harassment or misgendering. Disciplinary

proceedings without notice of the charges, adjudication by a neutral decisionmaker, cross-

examination, and other basic protections are fundamentally unfair and risk erroneous decisions

with life-altering consequences for these students. A finding of guilt, or even the opening of

an investigation, can create a permanent and life-altering stigma that irreparably harms a

student’s educational, professional, and social prospects, even if the finding is later reversed

or the investigation is dropped. And it severely distracts them from their studies.




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       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is

true and correct to the best of my knowledge.



Executed on May 8, 2024.




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                Exhibit A
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